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                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                          SOUTHERN DISTRICT OF GEORGIA
                                                     AUGUSTA DIVISION


UNITED       STATES   OF AMERICA


        v.                                                                          CR    110-251


SOLOMON GRIER




                                                        ORDER




        Defendant         has    filed a        motion      for   reduction of           sentence    under    18   U.S.C.


§ 3582(c)(2)          on the basis that Amendment 782 to the United States Sentencing

Guidelines          has      revised           the    guidelines        applicable          to   drug     trafficking

offenses.1          Even though Amendment 782 became effective on November 1, 2014,

no   defendant         may      be    released         on   the    basis      of    the    retroactive        amendment

before November            1,    2015.          See    U.S.S.G.       Amend.       788.     Thus,    the Court will

undertake       a     review         of    cases      involving        drug    trafficking          offenses       in   due

course.        If     Defendant           is   entitled to        a    sentence      reduction       as   a   result     of

amendments to the United States Sentencing Guidelines,                                       the Court will make

such a reduction sua sponte.                          Accordingly, Defendant's motion (doc. 926) is

DEFERRED.2

        ORDER ENTERED at Augusta, Georgia, this £><^pxlay of June, 2015.



                                                                        J.    RANDAL      HALL
                                                                      5TATES DISTRICT JUDGE
                                                                  *N DISTRICT OF GEORGIA


1     Defendant additionally seeks appointment of counsel and permission to proceed
in forma pauperis ("IFP"). Because the Court will address Defendant's request sua
sponte, his request for appointment of counsel and IFP status is DENIED at this
time.


2       The Clerk is directed to terminate the motion for administrative purposes.
